
BRIAN MILLSAP V. SHOW TRUCKS USA, INC.






NO. 07-06-0067-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JUNE 13, 2006

______________________________



EUGENE GRIFFIN,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 140th DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2003-404181; HON. JIM BOB DARNELL, PRESIDING

_______________________________



ON MOTION TO DISMISS

__________________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

Appellant Eugene Griffin, by and through his attorney, has filed a motion to dismiss this appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Do not publish.


